Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 1 of 77 Page ID
                                 #:9900




                   EXHIBIT 2




                             Kopczynski Exhibit 2
                                     14
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 2 of 77 Page ID
                                 #:9901




 April 29, 2022

 VIA EMAIL
 HIGHLY CONFIDENTIAL

  Farhad Mirzadeh
  Hausfeld
  888 16th Street, N.W.
  Suite 300
  Washington, DC 20006
  fmirzadeh@hausfeld.com

 Re:    In re National Football League’s Sunday Ticket Antitrust Litigation,
        Case No. 2:15-ml-02668-PSG (JEMx) (C.D. Cal.)

 Dear Farhad,

        We write on behalf of DIRECTV, LLC and DIRECTV Holdings, LLC (collectively,
 “DIRECTV”) in further response to Plaintiffs’ March 22, 2022 letter challenging our privilege
 claims over documents listed on our February 18, 2022 privilege log.

           As we committed to produce in our April 8, 2022 letter, attached as Exhibit A is an
 affiliations list which contains the names and affiliations of each individual on our privilege log.
 DIRECTV designates Exhibit A as “Highly Confidential” under the terms of the October 4, 2016
 Stipulated Protective Order, and we expect you will take all reasonable steps to protect it under
 the terms of that Order.

                                                        *          *          *

        Please let us know if you have any questions.


 Very truly yours,

 /s/ Jeffrey A. N. Kopczynski

 Jeffrey A. N. Kopczynski
 for O’Melveny & Myers




        Austin • Century City • Dallas • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                             Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo



                                                    Kopczynski Exhibit 2
                                                            15
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 3 of 77 Page ID
                                 #:9902




                           Kopczynski Exhibit 2
                                   16
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 4 of 77 Page ID
                                 #:9903




                           Kopczynski Exhibit 2
                                   17
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 5 of 77 Page ID
                                 #:9904




                           Kopczynski Exhibit 2
                                   18
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 6 of 77 Page ID
                                 #:9905




                           Kopczynski Exhibit 2
                                   19
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 7 of 77 Page ID
                                 #:9906




                           Kopczynski Exhibit 2
                                   20
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 8 of 77 Page ID
                                 #:9907




                           Kopczynski Exhibit 2
                                   21
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 9 of 77 Page ID
                                 #:9908




                           Kopczynski Exhibit 2
                                   22
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 10 of 77 Page ID
                                  #:9909




                           Kopczynski Exhibit 2
                                   23
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 11 of 77 Page ID
                                  #:9910




                           Kopczynski Exhibit 2
                                   24
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 12 of 77 Page ID
                                  #:9911




                           Kopczynski Exhibit 2
                                   25
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 13 of 77 Page ID
                                  #:9912




                           Kopczynski Exhibit 2
                                   26
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 14 of 77 Page ID
                                  #:9913




                           Kopczynski Exhibit 2
                                   27
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 15 of 77 Page ID
                                  #:9914




                           Kopczynski Exhibit 2
                                   28
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 16 of 77 Page ID
                                  #:9915




                           Kopczynski Exhibit 2
                                   29
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 17 of 77 Page ID
                                  #:9916




                           Kopczynski Exhibit 2
                                   30
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 18 of 77 Page ID
                                  #:9917




                           Kopczynski Exhibit 2
                                   31
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 19 of 77 Page ID
                                  #:9918




                           Kopczynski Exhibit 2
                                   32
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 20 of 77 Page ID
                                  #:9919




                           Kopczynski Exhibit 2
                                   33
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 21 of 77 Page ID
                                  #:9920




                           Kopczynski Exhibit 2
                                   34
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 22 of 77 Page ID
                                  #:9921




                           Kopczynski Exhibit 2
                                   35
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 23 of 77 Page ID
                                  #:9922




                           Kopczynski Exhibit 2
                                   36
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 24 of 77 Page ID
                                  #:9923




                           Kopczynski Exhibit 2
                                   37
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 25 of 77 Page ID
                                  #:9924




                           Kopczynski Exhibit 2
                                   38
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 26 of 77 Page ID
                                  #:9925




                           Kopczynski Exhibit 2
                                   39
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 27 of 77 Page ID
                                  #:9926




                           Kopczynski Exhibit 2
                                   40
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 28 of 77 Page ID
                                  #:9927




                           Kopczynski Exhibit 2
                                   41
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 29 of 77 Page ID
                                  #:9928




                           Kopczynski Exhibit 2
                                   42
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 30 of 77 Page ID
                                  #:9929




                           Kopczynski Exhibit 2
                                   43
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 31 of 77 Page ID
                                  #:9930




                           Kopczynski Exhibit 2
                                   44
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 32 of 77 Page ID
                                  #:9931




                           Kopczynski Exhibit 2
                                   45
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 33 of 77 Page ID
                                  #:9932




                           Kopczynski Exhibit 2
                                   46
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 34 of 77 Page ID
                                  #:9933




                           Kopczynski Exhibit 2
                                   47
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 35 of 77 Page ID
                                  #:9934




                           Kopczynski Exhibit 2
                                   48
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 36 of 77 Page ID
                                  #:9935




                           Kopczynski Exhibit 2
                                   49
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 37 of 77 Page ID
                                  #:9936




                           Kopczynski Exhibit 2
                                   50
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 38 of 77 Page ID
                                  #:9937




                           Kopczynski Exhibit 2
                                   51
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 39 of 77 Page ID
                                  #:9938




                           Kopczynski Exhibit 2
                                   52
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 40 of 77 Page ID
                                  #:9939




                           Kopczynski Exhibit 2
                                   53
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 41 of 77 Page ID
                                  #:9940




                           Kopczynski Exhibit 2
                                   54
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 42 of 77 Page ID
                                  #:9941




                           Kopczynski Exhibit 2
                                   55
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 43 of 77 Page ID
                                  #:9942




                           Kopczynski Exhibit 2
                                   56
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 44 of 77 Page ID
                                  #:9943




                           Kopczynski Exhibit 2
                                   57
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 45 of 77 Page ID
                                  #:9944




                           Kopczynski Exhibit 2
                                   58
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 46 of 77 Page ID
                                  #:9945




                           Kopczynski Exhibit 2
                                   59
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 47 of 77 Page ID
                                  #:9946




                           Kopczynski Exhibit 2
                                   60
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 48 of 77 Page ID
                                  #:9947




                           Kopczynski Exhibit 2
                                   61
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 49 of 77 Page ID
                                  #:9948




                           Kopczynski Exhibit 2
                                   62
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 50 of 77 Page ID
                                  #:9949




                           Kopczynski Exhibit 2
                                   63
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 51 of 77 Page ID
                                  #:9950




                           Kopczynski Exhibit 2
                                   64
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 52 of 77 Page ID
                                  #:9951




                           Kopczynski Exhibit 2
                                   65
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 53 of 77 Page ID
                                  #:9952




                           Kopczynski Exhibit 2
                                   66
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 54 of 77 Page ID
                                  #:9953




                           Kopczynski Exhibit 2
                                   67
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 55 of 77 Page ID
                                  #:9954




                           Kopczynski Exhibit 2
                                   68
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 56 of 77 Page ID
                                  #:9955




                           Kopczynski Exhibit 2
                                   69
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 57 of 77 Page ID
                                  #:9956




                           Kopczynski Exhibit 2
                                   70
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 58 of 77 Page ID
                                  #:9957




                           Kopczynski Exhibit 2
                                   71
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 59 of 77 Page ID
                                  #:9958




                           Kopczynski Exhibit 2
                                   72
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 60 of 77 Page ID
                                  #:9959




                           Kopczynski Exhibit 2
                                   73
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 61 of 77 Page ID
                                  #:9960




                           Kopczynski Exhibit 2
                                   74
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 62 of 77 Page ID
                                  #:9961




                           Kopczynski Exhibit 2
                                   75
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 63 of 77 Page ID
                                  #:9962




                           Kopczynski Exhibit 2
                                   76
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 64 of 77 Page ID
                                  #:9963




                           Kopczynski Exhibit 2
                                   77
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 65 of 77 Page ID
                                  #:9964




                           Kopczynski Exhibit 2
                                   78
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 66 of 77 Page ID
                                  #:9965




                           Kopczynski Exhibit 2
                                   79
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 67 of 77 Page ID
                                  #:9966




                           Kopczynski Exhibit 2
                                   80
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 68 of 77 Page ID
                                  #:9967




                           Kopczynski Exhibit 2
                                   81
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 69 of 77 Page ID
                                  #:9968




                           Kopczynski Exhibit 2
                                   82
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 70 of 77 Page ID
                                  #:9969




                           Kopczynski Exhibit 2
                                   83
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 71 of 77 Page ID
                                  #:9970




                           Kopczynski Exhibit 2
                                   84
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 72 of 77 Page ID
                                  #:9971




                           Kopczynski Exhibit 2
                                   85
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 73 of 77 Page ID
                                  #:9972




                           Kopczynski Exhibit 2
                                   86
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 74 of 77 Page ID
                                  #:9973




                           Kopczynski Exhibit 2
                                   87
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 75 of 77 Page ID
                                  #:9974




                           Kopczynski Exhibit 2
                                   88
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 76 of 77 Page ID
                                  #:9975




                           Kopczynski Exhibit 2
                                   89
Case 2:15-ml-02668-PSG-SK Document 586-3 Filed 07/29/22 Page 77 of 77 Page ID
                                  #:9976




                           Kopczynski Exhibit 2
                                   90
